1A
 101-7-NFR
 /2009
 /2010
 2ems Inc.
                                                        UNITED STATES BANKRUPTCY COURT
                                                              DISTRICT OF OREGON
                                                               PORTLAND DIVISION

                  In re:                                            §
                                                                    §
                  Elbert G Garboden                                 §      Case No. 15-35133-RLD7
                  Sherry L Garboden                                 §
                                                                    §
                                      Debtors                       §

                                                    NOTICE OF TRUSTEE’S FINAL REPORT AND
                                                      APPLICATIONS FOR COMPENSATION
                                                        AND DEADLINE TO OBJECT (NFR)

                          Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that AMY
                  MITCHELL, trustee of the above styled estate, has filed a Final Report and the trustee and the trustee’s
                  professionals have filed final fee applications, which are summarized in the attached Summary of
                  Trustee's Final Report and Applications for Compensation.

                          The complete Final Report and all applications for compensation are available for inspection at
                  the Office of the Clerk, at the following address:
                                                 1001 SW FIFTH AVENUE #700
                                                 PORTLAND, OR 97204
                          Any person wishing to object to any fee application that has not already been approved or
                  to the Final Report, must file a written objection within 23 days from the mailing of this notice,
                  together with a request for a hearing and serve a copy of both upon the trustee, any party whose
                  application is being challenged and the United States Trustee. If no objections are filed, the Court
                  will act on the fee applications and the trustee may pay dividends pursuant to FRBP 3009 without
                  further order of the Court.

                  Date:              09/20/2016                          By: Clerk of the U.S. Bankruptcy Court


                  AMY MITCHELL
                  P.O. Box 2289
                  Lake Oswego, OR 97035




             UST Form 101-7-NFR (10/1/2010) (Page: 1)
                                                 Case 15-35133-rld7     Doc 42   Filed 09/20/16
                                              UNITED STATES BANKRUPTCY COURT
                                                     DISTRICT OF OREGON
                                                     PORTLAND DIVISION


      In re:                                                                §
                                                                            §
      Elbert G Garboden                                                     §         Case No. 15-35133-RLD7
      Sherry L Garboden                                                     §
                                                                            §
                             Debtors                                        §

                                             SUMMARY OF TRUSTEE'S FINAL REPORT
                                             AND APPLICATIONS FOR COMPENSATION


                   The Final Report shows receipts of                                                                 $                       5,000.00
                   and approved disbursements of                                                                      $                             30.00
                                                            1
                   leaving a balance on hand of                                                                       $                       4,970.00


                 Claims of secured creditors will be paid as follows:


                                                                                 NONE


                 Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                                                     Interim Payment             Proposed
                            Reason/Applicant                             Total Requested             to Date                     Payment
       Trustee Fees: AMY MITCHELL                                       $             1,250.00 $                          0.00 $              1,250.00
       Trustee Expenses: AMY MITCHELL                                   $                 27.73 $                         0.00 $                    27.73
                   Total to be paid for chapter 7 administrative expenses                                             $                       1,277.73
                   Remaining Balance                                                                                  $                       3,692.27


                 Applications for prior chapter fees and administrative expenses have been filed as follows:


                                                                                 NONE


____________________
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              The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.

UST Form 101-7-NFR (10/1/2010) (Page: 2)
                                         Case 15-35133-rld7                     Doc 42          Filed 09/20/16
              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $ 7,087.26 must be paid in advance of any dividend to general (unsecured)
     creditors.

                 Allowed priority claims are:

                                                   Allowed Amount        Interim Payment to
     Claim No.          Claimant                   of Claim              Date               Proposed Payment
                        INTERNAL REVENUE
     1A                 SERVICE          $                 7,087.26 $                0.00 $         3,692.27
                Total to be paid to priority creditors                                $             3,692.27
                Remaining Balance                                                     $                    0.00


             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $ 36,202.68 have been allowed and will
     be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
     timely allowed general (unsecured) dividend is anticipated to be 0.0 percent, plus interest (if
     applicable).

                 Timely allowed general (unsecured) claims are as follows:

                                                   Allowed Amount        Interim Payment to
     Claim No.          Claimant                   of Claim              Date               Proposed Payment
     2                  PYOD LLC                  $          160.37 $                0.00 $                0.00
     3                  CREDIT FIRST NA           $          903.53 $                0.00 $                0.00
                        ONPOINT
                        COMMUNITY CREDIT
     4                  UNION            $                 2,470.91 $                0.00 $                0.00
                        ONPOINT
                        COMMUNITY CREDIT
     5                  UNION            $                 4,749.79 $                0.00 $                0.00
                        Wells Fargo Card
     6                  Services                  $       24,970.73 $                0.00 $                0.00
                        Portfolio Recovery
     7                  Associates, LLC           $        2,183.07 $                0.00 $                0.00
                        Portfolio Recovery
     8                  Associates, LLC           $          764.28 $                0.00 $                0.00
                Total to be paid to timely general unsecured creditors                $                    0.00




UST Form 101-7-NFR (10/1/2010) (Page: 3)
                                    Case 15-35133-rld7     Doc 42        Filed 09/20/16
                Remaining Balance                                                     $                     0.00


             Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been allowed and will
     be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
     have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus interest (if
     applicable).

                 Tardily filed general (unsecured) claims are as follows:


                                                            NONE


            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $ 7,087.26 have been allowed and will be paid pro rata only after all
     allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
     subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).

            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:

                                                  Allowed Amount        Interim Payment to
     Claim No.          Claimant                  of Claim              Date               Proposed Payment
                        INTERNAL REVENUE
     1B                 SERVICE          $                  7,087.26 $               0.00 $                 0.00
                Total to be paid to subordinated unsecured creditors                  $                     0.00
                Remaining Balance                                                     $                     0.00


                                              Prepared By: /s/ Amy Mitchell
                                                                                     Trustee


     AMY MITCHELL
     P.O. Box 2289
     Lake Oswego, OR 97035


     STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
     Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-7-NFR (10/1/2010) (Page: 4)
                                    Case 15-35133-rld7     Doc 42      Filed 09/20/16
